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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 09-cv-01169-BNB UNITED STATES DISTRICT AQURT
DENVER, COlORADO

SOLOMON BEN-TOV COHEN,
JUN 25 2909

GREGORY C. LANGHAM
Y CLERK

Plaintiff,

 

OFFICER STEVEN ESTRADA, Immigration & Customs Enforcement,

JOHN LONGSHORE, Field Office Director, Department of Homeland Security,
CAPT. DAN MULDOON, Jail Administrator, Park County Jail,

OFFICER BLATT, ICE,

DR. PECK, Psychiatrist, El Paso County Jail,

FRAN LePAGE, Programs Manager, El Paso County Jail,

SHERIFF TERRY MAKETA, El Paso County Jail, and

EL PASO COUNTY,

Defendants.

 

ORDER DIRECTING PLAINTIFF TO FILE SECOND AMENDED COMPLAINT

 

Plaintiff, Solomon Ben-Tov Cohen, currently is being detained at the E! Paso
County Jail in Colorado Springs, Colorado. Mr. Cohen initiated this action by filing pro
se two slightly different versions of a Prisoner Complaint alleging that his rights under
the United States Constitution have been violated. On June 2, 2009, the court ordered
Mr. Cohen to file an amended complaint in order to avoid any potential confusion that
could arise from the filing of two different pleadings. On June 23, 2009, Mr. Cohen filed
an amended Prisoner Complaint.

The court must construe the amended Prisoner Complaint liberally because Mr.
Cohen is not represented by an attorney. See Haines v. Kerner, 404 U.S, 519, 520-21

(1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10" Cir. 1991). However, the court
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should not be an advocate for a pro se litigant. See Hall, 935 F.2d at 1110. For the
reasons stated below, Mr. Cohen will be ordered to file a second amended complaint.
Mr. Cohen’s amended Prisoner Complaint is deficient for three reasons. First,
Mr. Cohen provides addresses in the amended Prisoner Complaint for only three of the
eight Defendants listed in the caption of that pleading. Mr. Cohen must provide an
address for each named Defendant in order for the court to effect service of process.
The amended Prisoner Complaint also is deficient because Mr. Cohen fails to assert
any claim against Dr. Peck, one of the Defendants listed in the caption of the amended
Prisoner Complaint. if Mr. Cohen intends to pursue a claim against Dr. Peck in this
action, he must specify what that claim is. Finally, the amended Prisoner Complaint is
deficient because Mr. Cohen asserts his eighth claim against an individual who is not
listed as a Defendant in the caption of the amended Prisoner Complaint. If Mr. Cehen
intends to assert a claim against this individual, he must include his name in the caption
of his second amended complaint. See Fed. R. Civ. P. Rule 10(a). Accordingly, it is
ORDERED that Mr. Cohen file a second amended complaint within thirty (30)
days from the date of this order. It is
FURTHER ORDEREB that the clerk of the court mail to Mr. Cohen, together with
a copy of this order, two copies of the following form: Prisoner Complaint. It is
FURTHER ORDERED that, if Mr. Cohen fails within the time allowed to file a
second amended complaint that complies with this order to the court's satisfaction, the

action will be dismissed without further notice.
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DATED June 25, 2009, at Denver, Colorado.
BY THE COURT:

s/ Boyd N. Boland
United States Magistrate Judge
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 09-cv-01169-BNB

Solomon B. Cohen

Prisoner No. A0261647
Alien No. 77309675
Criminal Justice Center
2739 East Las Vegas St.
Colorado Springs, CO 80906

| hereby certify that | have mailed a copy of the ORDER and two copies of the
Prisoner Complaint to the above-named individuals on “f6[1_
GREGORY £. LANGHAM, CLERK

puty A

By:

 

 
